Case 19-04041           Doc 8       Filed 07/24/19 Entered 07/24/19 15:01:03                       Desc Main
                                        Document Page 1 of 1        Page 1 of 1


UNITED STATES BANKRUPTCY COURT
DISTRICT OF MINNESOTA
PDF WITH AUDIO ATTACHMENT

      2019-04041
      Waterbury v. American University of Antigua



      Case Type :                    ap
      Case Number :                  2019-04041
      Case Title :                   Waterbury v. American University of Antigua

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